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                                                                                                                     Facsimile: (949) 260-0972
                                                                                                                 7
                                                                                                                     Attorneys for Plaintiffs
                                                                                                                 8   WESTERN RIVERSIDE COUNCIL OF
                                                                                                                     GOVERNMENTS; CITY OF BEAUMONT
                                                                                                                 9
                                                                                                                10                                  UNITED STATES DISTRICT COURT
                                                                                                                11                                 CENTRAL DISTRICT OF CALIFORNIA
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                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                                     WESTERN RIVERSIDE COUNCIL OF                     Case No. 5:20-cv-02164 GW (KKx)
                                                                                                                13   GOVERNMENTS, a California Joint
                                                                                                                     Powers Authority; CITY OF                        OPPOSED
                                                                                                                14   BEAUMONT, a public entity in the
                                                                                                                     State of California,                             NOTICE OF EX PARTE
                                                                                                                15                                                    APPLICATION AND FIRST EX
                                                                                                                                              Plaintiffs,             PARTE APPLICATION FOR AN
                                                                                                                16                                                    ORDER TO TAKE ADDITIONAL
                                                                                                                              v.                                      DEPOSITIONS AND RE-DEPOSE
                                                                                                                17                                                    DEPONENTS PURSUANT TO
                                                                                                                     NATIONAL UNION FIRE                              FEDERAL RULES OF CIVIL
                                                                                                                18   INSURANCE COMPANY OF                             PROCEDURE 30(a)(2)(A)(i) & (ii);
                                                                                                                     PITTSBURGH, and DOES 1 through                   MEMORANDUM OF POINTS
                                                                                                                19   50, inclusive,                                   AND AUTHORITIES
                                                                                                                20                            Defendants.             [Filed Concurrently with:
                                                                                                                21                                                    1. Declaration of Christopher E. Deal;
                                                                                                                                                                      2. [Proposed] Order.]
                                                                                                                22
                                                                                                                23                                                    Motion Hearing:
                                                                                                                                                                      Date: TBD
                                                                                                                24                                                    Time: TBD
                                                                                                                                                                      Courtroom: 3 or 4
                                                                                                                25                                                    Judge: Kenly Kiya Kato
                                                                                                                26
                                                                                                                                                                      Action Filed: August 3, 2020
                                                                                                                27                                                    Trial Date: September 13, 2022
                                                                                                                28
                                                                                                                                                                                        5:20-CV-02164 GW (KKX)
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                                                                                                                 1          NOTICE OF EX PARTE APPLICATION AND APPLICATION TO
                                                                                                                 2            TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
                                                                                                                 3            PLEASE TAKE NOTICE THAT this matter may be heard by the Honorable
                                                                                                                 4   Kenly Kiya Kato in Courtroom 3/4 of the United State District Court for the Central
                                                                                                                 5   District of California, 3470 12th St, 3rd Floor, Riverside, CA 92501, Plaintiffs
                                                                                                                 6   WESTERN RIVERSIDE COUNCIL OF GOVERNMENTS and CITY OF
                                                                                                                 7   BEAUMONT (collectively, “Plaintiffs”) will and hereby does apply ex parte for an
                                                                                                                 8   order to allow Plaintiffs to take more than ten depositions and re-depose deponents
                                                                                                                 9   pursuant to Federal Rules of Civil Procedure (“FRCP”) Rule 30(a)(2)(A)(i) & (ii).
                                                                                                                10   Per the Court’s procedure, the Court will notify the parties if it wishes to have a
                                                                                                                11   hearing.
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                                                                                                                12            This Ex Parte Application (“Application”) is brought on the grounds that
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                                13   Plaintiffs may seek leave from the Court pursuant to FRCP Rules 30(a)(2)(A)(i) &
                                                                                                                14   (ii) to take more than ten depositions and to re-depose deponents. There have been
                                                                                                                15   no prior ex parte requests in this matter by any party.
                                                                                                                16            Pursuant to Local Rule 7-19.1, Plaintiffs have, with a good faith effort,
                                                                                                                17   attempted to provide oral notice to Defendants of this Application to counsel for
                                                                                                                18   Defendant National Union Fire Insurance Company of Pittsburgh, PA who have the
                                                                                                                19   following contact information:
                                                                                                                20            Scott L. Schmookler (Pro Hac Vice)
                                                                                                                21            sschmookler@grsm.com
                                                                                                                22            (312) 980-6779
                                                                                                                23            Gordon Rees Scully Mansukhani, LLP
                                                                                                                24            5 Park Plaza Suite 1100
                                                                                                                25            Irvine, CA 92614
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                                                                                                                 1            Meagan P. Vanderweele
                                                                                                                 2            mvanderweele@grsm.com
                                                                                                                 3            Gordon Rees Scully Mansukhani, LLP
                                                                                                                 4            One North Franklin, Suite 800
                                                                                                                 5            Chicago, IL 60606
                                                                                                                 6            On July 1, 2022 at approximately 3:00 PM PDT, Plaintiffs’ counsel attempted
                                                                                                                 7   to call both Mr. Schmookler and Ms. Vanderweele. Neither answered their phones.
                                                                                                                 8   Plaintiffs’ counsel left voicemails apprising Defendant’s counsel of Plaintiffs’ intent
                                                                                                                 9   to bring this Ex Parte Application and the grounds therewith. Following the
                                                                                                                10   voicemails, Plaintiffs’ counsel sent an e-mail to both Mr. Schmookler and Ms.
                                                                                                                11   Vanderweele memorializing the same. A true and correct copy of this e-mail is
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                                                                                                                12   attached herewith at Exhibit C.
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                                13            The ex parte notice to Defendant’s counsel specified the nature of the
                                                                                                                14   requested relief, and the date, time, and place for the presentation of this ex parte
                                                                                                                15   application. Plaintiffs believe Defendant will oppose this ex parte application.
                                                                                                                16            This Application is based on the Memorandum of Points and Authorities, the
                                                                                                                17   Declaration of Christopher E. Deal, the pleadings, records, and papers on file in this
                                                                                                                18   action, and upon such other oral and documentary evidence as may be presented at
                                                                                                                19   or before the hearing of this matter.
                                                                                                                20
                                                                                                                21   Dated: July 1, 2022                         BEST BEST & KRIEGER LLP
                                                                                                                22
                                                                                                                23                                               By: /s/ Jeffrey V. Dunn
                                                                                                                                                                    JEFFREY V. DUNN
                                                                                                                24                                                  CHRISTOPHER E. DEAL
                                                                                                                                                                    DANIEL L. RICHARDS
                                                                                                                25                                                   Attorneys for Plaintiffs
                                                                                                                                                                     WESTERN RIVERSIDE COUNCIL
                                                                                                                26                                                   OF GOVERNMENTS; CITY OF
                                                                                                                                                                     BEAUMONT
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                                                                                                                 1                      MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                                 2   I.       INTRODUCTION
                                                                                                                 3            Pursuant to Federal Rules of Civil Procedure (“FRCP”) Rules 30(a)(2)(A)(i)
                                                                                                                 4   & (ii), each party is limited to ten depositions and must seek leave of Court to take
                                                                                                                 5   additional depositions or re-depose deponents. Prior to Defendant National Union
                                                                                                                 6   Fire Insurance Company of Pittsburgh, Pa (“Defendant”) serving its expert
                                                                                                                 7   disclosures, Plaintiffs Western Riverside Council of Governments (“WRCOG”) and
                                                                                                                 8   the City of Beaumont (the “City”) (collectively, “Plaintiffs”) deposed a total of
                                                                                                                 9   eight deponents.
                                                                                                                10            On May 31, 2022, however, Defendant National Union Fire Insurance
                                                                                                                11   Company of Pittsburgh, Pa (“Defendant”) served its expert disclosure and identified
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                                                                                                                12   12 non-retained experts who would offer expert opinions at trial. These “experts”
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                                13   included Defendant’s prior forensic accounting expert, former City of Beaumont
                                                                                                                14   officials and even citizen “gadflies,” who previously attended City meetings and
                                                                                                                15   criticized the City’s operations at City council meetings and on social media. The
                                                                                                                16   range of proffered opinions range from testimony on the reasonableness of a
                                                                                                                17   contractor’s invoices, customs and practices in the construction industry, the
                                                                                                                18   interpretation of specific contract provisions and the reasonableness of Defendant’s
                                                                                                                19   claims handling practices.1 Incredibly, despite its designation of 12 non-retained
                                                                                                                20   experts, Defendant now flatly refuses to permit Plaintiff to depose all but one of
                                                                                                                21   these non-retained experts witness, Peter Fogarty, the forensic accountant.2 This is
                                                                                                                22   patently unfair. By this motion, Defendants seeks leave to take more than 10
                                                                                                                23   depositions and re-depose the witnesses who have now been identified as “experts.”
                                                                                                                24   If Defendant intends to primarily present its case through non-retained experts, then
                                                                                                                25
                                                                                                                     1
                                                                                                                26     Surprisingly, despite being sued for its poor claims handling practices, Defendant
                                                                                                                     did not retain an expert to opine on Defendant’s claims handling practices. It
                                                                                                                27   apparently
                                                                                                                     2
                                                                                                                                 intends to fill this void by using its claims handlers as experts.
                                                                                                                       It appears that Defendant would allow one more deposition unless that witness
                                                                                                                28   had already been deposed.
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                                                                                                                 1   Plaintiffs should be allowed to depose these purported experts, determine if they are
                                                                                                                 2   qualified to testify as experts and find out what opinions they intend to express at
                                                                                                                 3   trial. Under the circumstances, Plaintiffs request extraordinary relief from the ten
                                                                                                                 4   deposition limit and be allowed to re-depose eight deponents, all of whom were
                                                                                                                 5   identified as non-retained experts. See Mission Power Engineering Co. v.
                                                                                                                 6   Continental Casualty Co., 883 F. Supp. 488 (C.D. Cal. 1995).
                                                                                                                 7   II.      STATEMENT OF FACTS
                                                                                                                 8            Pursuant to the Scheduling Order, Defendant served its initial expert
                                                                                                                 9   disclosures, which included one expert report for Richard E. Tasker and an
                                                                                                                10   additional set of disclosures for twelve non-retained experts. See Declaration of
                                                                                                                11   Christopher E. Deal (“Deal Decl.”), Exhibits A & B. Of these twelve non-retained
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                                                                                                                12   experts, four were neither deposed by Plaintiffs nor Defendant (Lawrence Dressel,
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                                13   Peter Fogarty, Nancy Hall, and Judith Bingham). Within Defendant’s initial expert
                                                                                                                14   disclosure, it states “[t]he scope and subject matter of their knowledge and
                                                                                                                15   anticipated testimony at trial was disclosed therein and may be introduced at trial.
                                                                                                                16   Defendant does not concede that any testimony offered by the following witnesses
                                                                                                                17   is subject to disclosure under Rule 26(a)(2)(C), but in an abundance of caution,
                                                                                                                18   discloses them herein to the extent that any of their testimony is subject to Federal
                                                                                                                19   Rules of Evidence 702, 703, or 705. In that event, Defendant discloses that it may
                                                                                                                20   call the following witnesses at trial[.]” Deal Decl., Exhibit B, 2:15–21.
                                                                                                                21            Prior to the serving of Defendant’s initial expert disclosures, Plaintiffs took
                                                                                                                22   the depositions of the following third-party and party witnesses: Roger Berg, Judith
                                                                                                                23   Blake, David Castaldo, Brian DeForge, Nancy Gall, James Gregg, Barbara Leone,
                                                                                                                24   and Jennifer Rocha. (Deal Decl., ¶ 5.) However, since Plaintiffs were not aware
                                                                                                                25   that these deponents would be designated as experts, Plaintiffs did not ask these
                                                                                                                26   witnesses to disclose expert opinions, fully explore the basis for their opinions or
                                                                                                                27   fully explore their qualifications to opine as experts. Indeed, had Plaintiffs been
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                                                                                                                 1   aware that apparent percipient witnesses would later be identified as experts, their
                                                                                                                 2   depositions would have been conducted far differently. (Deal Decl., ¶ 6.) Given
                                                                                                                 3   that Defendant indicated that it intends to offer opinion testimony at trial, while
                                                                                                                 4   simultaneously allowing Plaintiffs no reasonable opportunity to explore the basis
                                                                                                                 5   for their opinions and qualifications, Plaintiffs will be irreparably prejudiced unless
                                                                                                                 6   relief is granted.
                                                                                                                 7   III.     LEGAL ARGUMENT
                                                                                                                 8            Given the impeding deadline to complete expert discovery by July 28, 2022,
                                                                                                                 9   Plaintiffs must act quickly to not only receive relief, but also to schedule and
                                                                                                                10   conduct a total of twelve additional depositions. Further, given the summer
                                                                                                                11   holidays, it will be difficult to work around potential vacations and holidays.
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                                                                                                                12   Accordingly, Plaintiffs have no alternative but to seek extraordinary relief through
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                                13   this ex parte application. There simply is not enough time to bring a noticed motion.
                                                                                                                14            Ex parte relief is justified where that the moving party's cause will be
                                                                                                                15   irreparably prejudiced if the underlying motion is heard per regular noticed motion
                                                                                                                16   procedures, and the moving party is without fault in creating the crisis that requires
                                                                                                                17   ex parte relief, or that the crisis occurred as a result of excusable neglect. Mission
                                                                                                                18   Power Eng’g Co. v. Continental Cas. Co., 883 F.Supp. 488 (C.D. Cal. 1995).
                                                                                                                19            A.        THE COURT MY GRANT PLAINTIFF LEAVE TO TAKE
                                                                                                                                        ADDITIONAL DEPOSITIONS AND REDEPOSE CERTAIN
                                                                                                                20                      WITNESSES
                                                                                                                21            Pursuant to FRCP 30(a)(2)(A),
                                                                                                                22                      With Leave. A party must obtain leave of court, and the
                                                                                                                23                      court must grant leave to the extent consistent with Rule
                                                                                                                                        26(b)(1) and (2):
                                                                                                                24
                                                                                                                25                            (A) if the parties have not stipulated to the
                                                                                                                                              deposition and:
                                                                                                                26
                                                                                                                                              (i) the deposition would result in more than 10
                                                                                                                27                            depositions being taken under this rule or Rule 31
                                                                                                                28
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                                                                                                                 1                            by the plaintiffs, or by the defendants, or by the
                                                                                                                 2                            third-party defendants;

                                                                                                                 3                            (ii) the deponent has already been deposed in the
                                                                                                                                              case[.]
                                                                                                                 4
                                                                                                                 5            Accordingly, a party may seek leave from the Court to conduct additional
                                                                                                                 6   depositions beyond the limit imposed by the FRCP Rule 30(a)(2)(A)(i). See
                                                                                                                 7   Laryngeal Mask Co. Ltd. v. Ambu A/S, No. 307CV01988DMSNLS, 2009 WL
                                                                                                                 8   10672436, at *2 (S.D. Cal. July 17, 2009) (“If parties do not stipulate to more
                                                                                                                 9   depositions than the presumptive limit allows, a party must obtain leave of court
                                                                                                                10   and the court “must grant leave to the extent consistent with Rule 26(b)(2).”).
                                                                                                                11   Further, parties may also re-depose a deponent by seeking leave from Court.
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                                                                                                                12   Cedars-Sinai Med. Ctr. v. Quest Diagnostics Inc., No. CV 17-5169 GW (FFMX),
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                                13   2019 WL 12520126, at *1 (C.D. Cal. Apr. 1, 2019) (“Rule 30(a)(2)(A)(ii) provides
                                                                                                                14   that, absent the parties' stipulation, a party must obtain leave of court to depose a
                                                                                                                15   person if the deponent has already been deposed in the case.”)
                                                                                                                16            Notably, with respect to the 10 deposition limit, Plaintiffs do not need to
                                                                                                                17   demonstrate a “particularized showing” as to why it needs additional depositions.
                                                                                                                18   Laryngeal Mask Co. Ltd. v. Ambu A/S, No. 307CV01988DMSNLS, 2009 WL
                                                                                                                19   10672436, at *4 (S.D. Cal. July 17, 2009) (“This Court declines to adopt a
                                                                                                                20   requirement that a party seeking leave of court to take additional depositions is
                                                                                                                21   required to make a “particularized showing.” The plain language of the Rules and
                                                                                                                22   the Advisory Committee Notes do not require a particularized showing. Rule 30(a)
                                                                                                                23   only requires that the court “must grant leave to the extent consistent with Rule
                                                                                                                24   26(b)(2).” Fed. R. Civ. P. 30(a)(2)(A)(i).”).
                                                                                                                25            As stated above, Plaintiffs will be irreparably prejudiced if they cannot move
                                                                                                                26   forward with deposing the additional twelve non-retained experts, including the
                                                                                                                27   experts who have already been deposed. Plaintiffs should not be blindsided when
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                                                                                                                 1   they enter the courtroom. Defendant’s twelve non-retained experts have not been
                                                                                                                 2   deposed based on their qualifications and opinions. It would be prejudicial to
                                                                                                                 3   Plaintiffs if they are not afforded the opportunity to take these depositions (which
                                                                                                                 4   would exceed the ten deposition limit pursuant to FRCP Rule 30(a)(2)(A)(i)) of
                                                                                                                 5   Defendant’s non-retained experts.
                                                                                                                 6            B.        GOOD CAUSE EXISTS BECAUSE DEFENDANT ONLY
                                                                                                                                        DISCLOSED THE NON-RETAINED EXPERTS AFTER THE
                                                                                                                 7                      DISCOVERY CUT-OFF DATE
                                                                                                                 8            Ex parte applications are proper where the crisis prompting the request
                                                                                                                 9   occurred absent the fault of the party in creating the crisis that requires ex parte
                                                                                                                10   relief. Even if the crisis is caused by the party seeking relief, that party can still
                                                                                                                11   obtain relief if it shows the crisis resulted from excusable neglect. Mission Power
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                                                                                                                12   Eng’g Co., supra, 883 F.Supp. at 492.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                                13            In this case, Plaintiffs did not cause the crisis requiring this motion.
                                                                                                                14   Defendants caused the crisis by designating 12 non-retained experts. Even if
                                                                                                                15   Defendant could demonstrate fault by Plaintiffs, which is disputed, they cannot
                                                                                                                16   reasonably argue that this fault was caused by something other than excusable
                                                                                                                17   neglect.
                                                                                                                18            Further, good cause exists to grant the application. Plaintiffs’ discovery
                                                                                                                19   should not be so limited so that Defendant can essentially ambush them at trial. See
                                                                                                                20   Hickman v Taylor (1947) 329 US 495, 507 (Discovery rules are to be accorded
                                                                                                                21   broad and liberal treatment, to end that either party may obtain in advance of trial
                                                                                                                22   knowledge of all relevant facts in possession of other party.). And district courts
                                                                                                                23   have considerable discretion in handling discovery matters. See, e.g., Brune v. IRS,
                                                                                                                24   861 F.2d 1284, 1288 (D.C. Cir. 1988); Laborers’ Int’l Union of N. Am. v.
                                                                                                                25   Department of Justice, 772 F.2d 919, 921 (D.C. Cir. 1984) (“Control of discovery
                                                                                                                26   is a matter entrusted to the sound discretion of the trial courts.”).
                                                                                                                27            Here, by identifying and disclosing an inordinately large number of non-
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                                                                                                                 1   retained experts in its initial experts disclosure, and then insisting on the 10-
                                                                                                                 2   deposition limit, Defendant has placed Plaintiffs in an untenable position. Plaintiffs
                                                                                                                 3   were only made aware of Defendant’s intent to call on the twelve non-retained
                                                                                                                 4   experts to testify at trial when Defendant served its initial expert disclosures on
                                                                                                                 5   May 31, 2022, a day after the discovery cut-off. Further, Plaintiffs were never made
                                                                                                                 6   aware that the twelve witnesses would be designated as non-retained experts. Thus,
                                                                                                                 7   Plaintiffs would not be able to conduct additional depositions to inquire into the
                                                                                                                 8   non-retained expert’s qualifications and opinions prior to trial.
                                                                                                                 9            The Federal Rules of Civil Procedure, and basic notions of fairness, both call
                                                                                                                10   for some relief from the 10-deposition limit of FRCP, Rule 30(a)(2)(A)(i).
                                                                                                                11   Plaintiffs should also be granted leave from this Court to re-depose the additional
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                                                                                                                12   eight non-retained experts (Roger Berg, Judith Blake, David Castaldo, Brian
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                                13   DeForge, Nancy Gall, James Gregg, Barbara Leone, and Jennifer Rocha).
                                                                                                                14            First, with respect to the 10 deposition limit, as noted above, a party may
                                                                                                                15   seek leave from the Court to conduct additional depositions beyond the limit
                                                                                                                16   imposed by the FRCP Rule 30(a)(2)(A)(i). See Laryngeal Mask Co. Ltd., supra,
                                                                                                                17   2009 WL 10672436, at *2 (S.D. Cal. July 17, 2009). In fact, the Court in Laryngeal
                                                                                                                18   Mask Co., specifically declined to adopt a requirement that a party seeking leave of
                                                                                                                19   court to take additional depositions would be required to make a “particularized
                                                                                                                20   showing;” further noting that the Rules and the Advisory Committee Notes do not
                                                                                                                21   require a particularized showing. Id.
                                                                                                                22            Despite not needing a “particularized showing,” Plaintiffs legitimately have a
                                                                                                                23   particularized and good faith basis for requiring additional depositions, thereby
                                                                                                                24   surpassing the minimum threshold. FRCP 26(b)(2)(A) allows this Court to alter the
                                                                                                                25   limits on depositions. Defendants would not be prejudiced in any way. To the
                                                                                                                26   contrary, Defendants would have an equal opportunity to explore the purported
                                                                                                                27   expert testimony that these witnesses intend to offer. As it stands, Plaintiffs are in
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                                                                                                                 1   the dark. Plaintiffs should not be forced to incur an ambush of unbeknownst expert
                                                                                                                 2   testimony at the time of trial.
                                                                                                                 3            Second, with respect to Defendant’s refusal to permit Plaintiffs to re-depose
                                                                                                                 4   non-retained experts, this position is also untenable. Once a party identifies a
                                                                                                                 5   potential witness as an expert under FRCP Rule 26(a)(2)(A), that witness is subject
                                                                                                                 6   to being deposed as an expert. Indemnity Ins. Co. of North America v. American
                                                                                                                 7   Eurocopter LLC (M.D.N.C. 2005) 227 F.R.D. 421, 425 is squarely on point. While
                                                                                                                 8   there is no rule requiring a party to specifically identify the opinions that these
                                                                                                                 9   witnesses will give nor require expert reports from them, they are subject to being
                                                                                                                10   deposed, and these witnesses must be prepared to identify the opinions they will
                                                                                                                11   give at trial. Id. Moreover, the Court in Indemnity Ins. held that witnesses who
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                                                                                                                12   were initially deposed as fact witnesses but then identified as experts are subject to
                                                                                   IRVINE, CALIFORNIA 92612
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                                                                                                                13   being re-deposed insofar as determining what opinions, if any, they will be offering
                                                                                                                14   at the time of trial. See id; see also Mahavisno v. Compendia Bioscience, Inc. (E.D.
                                                                                                                15   Mich., Sept. 29, 2015 No. 213CV12207SFCMAR) 2015 WL 5698519 (holding a
                                                                                                                16   deposition of a fact witness is very different from the deposition of an expert
                                                                                                                17   witness and that a party must be given the opportunity to question an expert witness
                                                                                                                18   in his/her expert capacity if so identified.)
                                                                                                                19            Here, the present scenario is similar if not identical to those in Indemnity Ins.
                                                                                                                20   and Mahavisno. Plaintiffs have not had the opportunity to depose Defendant’s non-
                                                                                                                21   retained experts in their expert capacities. Defendant cannot introduce expert
                                                                                                                22   testimony without first giving Plaintiffs an opportunity to explore these opinions in
                                                                                                                23   a deposition.3 Thus, it follows that Plaintiffs must be given an opportunity to re-
                                                                                                                24   depose Defendant’s non-retained experts in order to determine the expert opinions
                                                                                                                25   being offered, whether they are relying on any scientific, technical, or other
                                                                                                                26
                                                                                                                     3
                                                                                                                27     Courts have had to be alert to efforts to smuggle expert testimony into the case
                                                                                                                     without complying with [expert designation] requirements by characterizing it as
                                                                                                                28   lay testimony. See Indemnity Ins. Co., supra, 227 F.R.D. at fn. 3.
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                                                                                                                 1   specialized knowledge, and any other information that would qualify them as an
                                                                                                                 2   expert.
                                                                                                                 3   IV.      CONCLUSION
                                                                                                                 4            Plaintiffs request extraordinary relief from the Court to grant leave to depose
                                                                                                                 5   an additional twelve depositions beyond the ten deposition limit and re-depose the
                                                                                                                 6   eight non-retained expert deponents.
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                                                                                                                 8   Dated: July 1, 2022                           BEST BEST & KRIEGER LLP
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                                                                                                                10                                                 By: /s/ Jeffrey V. Dunn
                                                                                                                                                                      JEFFREY V. DUNN
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